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                                                                              United States Bankruptcy Court
                                      UNITED STATES BANKRUPTCY COURT              Southern District of Texas
                                        SOUTHERN DISTRICT OF TEXAS                   ENTERED
                                                                                    March 05, 2024
In     Robert F Strange, Jr.                                                      Nathan Ochsner, Clerk
Re:
       Debtor(s)                                         Case No.: 23−32598
                                                         Chapter: 13


                                              ORDER CLOSING CASE


The estate has been fully administered. Therefore, the Court orders:

1. David Peake is discharged as trustee of the estate.

2. The Trustee's bond is cancelled.

3. The case is closed.




Signed and Entered on Docket: 3/5/24
